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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case Number: 09-20523-06
v.                                                            Honorable Thomas L. Ludington

ERIC LEE SCHWEIKERT,

                  Defendant.
_______________________________________/

    ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
DEFENDANT’S PLEA OF GUILTY AS TO COUNT ONE OF THE INDICTMENT, AND
      TAKING THE RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on June 29, 2011, by United States Magistrate Judge Charles

E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on June 30,

2011, recommending that this Court accept the defendant’s plea of guilty as to count one of the

indictment. As of today’s date, no party has filed any objections to the magistrate judge’s report and

recommendation. The election to not file objections to the magistrate judge’s report releases the

Court from its duty to independently review the record. Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt.

#224] is ADOPTED.

       It is further ORDERED that the defendant’s plea of guilty as to count one of the indictment

is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. #221] is taken UNDER ADVISEMENT.

                                               s/Thomas L. Ludington
                                               THOMAS L. LUDINGTON
                                               United States District Judge
Dated: August 1, 2011
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                                           PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                   upon each attorney or party of record herein by electronic means or first
                   class U.S. mail on August 1, 2011.
                                                     s/Tracy A. Jacobs
                                                     TRACY A. JACOBS




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